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PS 8
(5/05)

                        UNITED STATES DISTRICT COURT
                                    for the
                         DISTRICT OF MASSACHUSETTS

United States of America

         vs.

Michael Toussaint                            Docket No. 0101 1:20CR10136-12

         PETITION FOR ACTION ON CONDITIONS OF PRETRIAL RELEASE

The undersigned Pretrial Services Officer presents this report regarding defendant Michael
Toussaint , who was placed under pretrial release supervision by the Honorable Marianne B.
Bowler, on 6/24/2020 under the following conditions:


$10,000 unsecured bond

1. Obey all statutory conditions of release.
2. Report to U.S. Probation and Pretrial Services as directed.
3. Maintain or actively seek employment unless excused by U.S. Probation and Pretrial Services.
4. Surrender any passport to U.S. Probation and Pretrial Services.
5. Do not obtain a passport or any other travel document while this case is pending.
6. Travel is restricted to the District of Massachusetts.
7. Maintain residence and do not move without prior permission of U.S. Probation and Pretrial
Services.
8. Avoid all contact, directly or indirectly, with any person who is or may be a victim or witness
in the investigation or prosecution, including: co-defendants and defendants on related cases,
unless in the presence of counsel.
9. Refrain from possessing any firearm, destructive device, or other dangerous weapon.
10. Refrain from use or unlawful possession of a narcotic drug or other controlled substances
defined in 21 U.S.C. 802, unless prescribed by a licensed medical practitioner.
11. Refrain from the excessive use of alcohol.
12. Submit to any testing required by the pretrial services office or the supervising officers to
determine whether the defendant is using a prohibited substance. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol
testing system, and/or any form of prohibited substance screening or testing.
13. You are restricted to your residence every day from 10:00 p.m. to 5:00 a.m.
14. Report any contact with law enforcement within 24 hours

On December 1, 2020, the defendant’s curfew was ordered removed by U.S. Magistrate Judge
Marianne B. Bowler.
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On August 19, 2020, the defendant tested positive for marijuana and oxycodone upon release
from custody. U.S. Probation submitted a petition to the Court asking for a summons; however,
the defendant agreed to a modification of his release conditions to include drug treatment shortly
thereafter and no further action was requested.

On July 30, 2021, a Petition for Action was submitted to the Court regarding the defendant’s
contact with law enforcement on July 19, 2021, on which date he was issued a summons for
Operating a Motor Vehicle with a Suspended License and a Suspended Registration. The
noncompliance was addressed with the defendant and no action was requested.

On July 30, 2021, the defendant submitted a urinalysis which was returned positive for
marijuana. The marijuana use was addressed with the defendant and his treatment provider and
no action was requested. U.S. Magistrate Judge Marianne B. Bowler concurred and no action
was ordered.

On September 16, 2021, the defendant submitted a urinalysis which was returned positive for
marijuana. The marijuana use was addressed with the defendant and his treatment provider and
no action was requested. U.S. Magistrate Judge Marianne B. Bowler concurred and no action
was ordered.

               And respectfully seeks action by the Court and for cause as follows:

On October 26, 2021, the defendant submitted a urinalysis which was returned positive for
marijuana. The marijuana use was addressed with the defendant and his treatment provider.

On November 16, 2021, the defendant submitted a urinalysis which tested positive for marijuana.
This represents his 10th positive urinalysis for marijuana since his pretrial release and, of
particular note, the defendant has not provided any negative urinalysis’ since his pretrial release
was ordered. Numerous efforts have been made to bring the defendant into compliance and curb
his marijuana use, including counseling by the undersigned probation officer and collaboration
with the defendant’s treatment provider. Given the defendant’s continued marijuana use despite
those efforts, as well as the fact that multiple no action petitions have been submitted to the
court, it is respectfully recommended that the defendant’s non-compliance be taken to account at
sentencing, which is currently scheduled for January 27, 2021.

If, for any reason, the defendant’s sentencing does not proceed on that date, U.S. Probation
would request that a hearing be held to address the defendant’s aforementioned non-compliance.
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Petition for Action on Conditions of Pretrial Release


PRAYING THE COURT WILL:
☐       Issue a Warrant
☐       Issue a Summons for the defendant to appear for a show cause hearing
☒       Other: US Probation respectfully recommends that the defendant’s non-compliance be
taken into account at sentencing.


I declare under the penalty of perjury that the foregoing is true and correct.
 Executed on: 1/14/2021                        Place: Boston, Massachusetts


   /s/Andrew R. Kessler-Cleary                 Date: 1/14/2021

 Andrew Kessler-Cleary
 U.S. Probation Officer




                               ORDER OF COURT

                               ☐       Warrant to Issue
                               ☐       Summons to issue. Clerk to schedule show cause hearing.
                               x
                               ☐       Other: No Action



Considered and ordered this 18th             day of     January         ,20 22 ,and ordered filed
and made part of the record in the above case.


                 /s/ Richard G. Stearns
               __________________________________
               Judicial Officer
